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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,

               vs.

GEOFFREY MARK TALSMA,
a/k/a GEOFFREY MARK HAYS TALSMA,
GREGORY MARK GLEESING,
LOVEDEEP SINGH DHANOA,
a/k/a PRINCE DHANOA, and
PAUL STEVEN LARSON,
                                                                    INDICTMENT
                  Defendants.
_________________________________/

       The Grand Jury charges:

                                         COUNTS 1-17
                                         (Mail Fraud)

       From in or about January 2016, and continuing to in or about March 2021, in the

Southern Division of the Western District of Michigan,

                               GEOFFREY MARK TALSMA,
                         a/k/a GEOFFREY MARK HAYS TALSMA,
                               GREGORY MARK GLEESING,
                               LOVEDEEP SINGH DHANOA,
                                a/k/a PRINCE DHANOA, and
                                  PAUL STEVEN LARSON,

defendants, and others known to the grand jury, having devised and intending to devise a scheme

and artifice to defraud Amazon.com, Inc. (Amazon) of money and property by means of

materially false and fraudulent pretenses, representations and promises, in order to execute the

scheme, knowingly caused to be sent and delivered by the United States Postal Service and

private and commercial interstate carriers, according to the directions thereon, textbooks through



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                           program. Specifically, GEOFFREY MARK TALSMA, both alone

and in conjunction with GREGORY MARK GLEESING, LOVEDEEP SINGH DHANOA,

and PAUL STEVEN LARSON, rented thousands of text

rental program with no intention of returning the textbooks by the specified return date or paying

the established buyout price for the textbooks, and then sold the textbooks to local textbook

businesses and through the internet.

                                 GENERAL ALLEGATIONS

       A.      THE AMAZON TEXTBOOK RENTAL PROGRAM

       1.      Amazon is an internet-based retailer located in Seattle, Washington, that offers

numerous products for sale via its website, Amazon.com, and delivery via its supply chain.

Amazon fulfills customer orders by, among other methods, retrieving the ordered item from an

Amazon warehouse facility, referred to as an Amazon Fulfillment Center, and delivering that

                                  pick-up location using a third-party shipper, such as the U.S.

Postal Service, FedEx, UPS or via

       2.      Customers access and order products from Amazon using an account created

through the Amazon website. Amazon assigns every account a unique identifying number. To

create an account, customers must establish a username and password, email address or

telephone number. To order items, a customer must provide Amazon a physical address and a

credit card, debit card or bank account number.

       3.      Amazon offers textbooks for rental through its textbook rental program.

       4.      To rent a textbook, an Amazon customer uses the Amazon website to log into his

or her unique Amazon account. Once logged into the Amazon system, the customer navigates to

the textbook rental program. The customer is then able to search or use identifying information



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for the textbook to locate it on the Amazon system. The system displays the rental price, as well

as a purchase price depending upon whether the textbook is new or used. The rental price is

usually a small fraction of the purchase price, making the rental program financially

advantageous to college students and other users.

       5.      Once the customer selects a textbook, the

rental cart. The system then prompts the customer to again enter his or her login information

(username, password and email address or telephone number) for Amazon to verify the rental.

Once this is completed, the system generates the terms of the rental, which includes the rental

price, the due date for return of the textbook and a buyout price if the user chooses to keep (or

fails to return) the textbook. The customer pays the rental price with a credit card, Amazon gift

card or other means of payment. The customer then provides shipping information, which must

include an address, phone number, and the name the user chooses to receive the textbook.

       6.      The customer must provide a valid credit or debit card to secure payment of the

buyout price in the event the customer does not return the rental textbook by the due date.

       7.      A customer cannot rent more than 15 textbooks at any time through the textbook

rental program. If a customer attempts to rent more than 15 textbooks, the system will generate a

message telling the customer that he or she has exceeded the number of allowable rental

textbooks.

       8.      As the due date for return of the textbook approaches, Amazon will send the

customer a reminder about the return date. If the textbook is not returned by the due date,

Amazon will send additional reminders to the customer to return the textbook, to pay an

additional fee to extend the due date on the rental, or to pay the buyout price and keep the book.




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If the textbook is not returned after these additional reminder emails, Amazon will charge the

credit or debit card on file for the buyout price of the particular textbook.

       B.       AMAZON CONCESSIONS

       9.       Amazon policy allows customers to request a replacement for an ordered item

under certain circumstances, such as the item never arrived, arrived damaged, did not work

properly, was the wrong item, or other reasons. Similarly, under certain circumstances Amazon

will provide the customer with a refund and/or close the rental or purchase transaction. Amazon

calls these interactions to replace items, close the transaction or refund the customer



                                 THE SCHEME TO DEFRAUD

       10.      GEOFFREY MARK TALSMA repeatedly stole, obtained by fraud, or

converted to his own use textbooks from Amazon through the textbook rental program by

carrying out a sophisticated fraud scheme.

       11.      GEOFFREY MARK TALSMA intentionally disguised his true identity from

Amazon on hundreds of occasions to circumvent

Instead of using one established Amazon customer account when making additional orders,

GEOFFREY MARK TALSMA created new Amazon accounts using slightly different

identifiers, variations of his name, names of other individuals, different mailing addresses, and

slightly different email addresses or telephone numbers.


       12.       Each time GEOFFREY MARK TALSMA created a new Amazon account and

rented textbooks, he made materially false representations or concealed material facts, including,

but not limited to:

             a. Concealing that he was the same customer who already utilized prior Amazon
                accounts to rent 15 textbooks that had not yet been returned or purchased;

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             b. Misrepresenting the name of the customer on his account by refusing to use his
                own true name;
             c. Misrepresenting the physical address and street number associated with his
                customer account;
             d. Misrepresenting the true email associated with his customer account.
       13.        GEOFFREY MARK TALSMA further carried out the scheme by using

Amazon gift cards to pay the rental price for the textbooks and using MyVanilla Visa cards to

secure payment of the buyout price for the textbooks. These gift cards and MyVanilla Visa cards

did not contain                                      name or other means of identifying him as

the person renting the textbooks. GEOFFREY MARK TALSMA made sure that the

MyVanilla Visa cards did not have sufficient credit balances, or any balance at all, when the

textbook rentals were past due so that Amazon could not collect the book buyout price from

those cards.

       14.        GEOFFREY MARK TALSMA recruited individuals, including defendants

GREGORY MARK GLEESING, LOVEDEEP SINGH DHANOA, and PAUL STEVEN

LARSON, and other individuals known to the grand jury, to allow him to use their names and

mailing addresses to further continue receiving rental textbooks in amounts well above the

fifteen-book limit.


       15.        As time progressed, GEOFFREY MARK TALSMA used GREGORY MARK

GLEESING, LOVEDEEP SINGH DHANOA, and PAUL STEVEN LARSON to order

textbooks for him through their own Amazon accounts and with their own email accounts and

personal identifiers so that he could obtain even more textbooks from

program. GEOFFREY MARK TALSMA taught GREGORY MARK GLEESING,

LOVEDEEP SINGH DHANOA, and PAUL STEVEN LARSON how to order their own



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Amazon textbooks and circumvent the fifteen-book limit, and then assisted them in selling these

textbooks for a profit to local textbook businesses or over the internet.

       16.     On many occasions, GEOFFREY MARK TALSMA

service department and claimed that he did not receive the textbooks or that he received other

items that he could not return. As a result of these false representations, Amazon either credited

                                     account for the amount of the rental fee and/or closed the

rental for the textbook. The closing of the rental put GEOFFREY MARK TALSMA under the

fifteen-book limit on the associated account and allowed him to rent more textbooks on the same

account. On many occasions, GEOFFREY MARK TALSMA rented additional textbooks

using the credit he obtained through his fraudulent concession call.

       17.     Over the relevant time period, GREGORY MARK GLEESING, LOVEDEEP

SINGH DHANOA, and PAUL STEVEN LARSON separately aided and abetted GEOFFREY

MARK TALSMA in his scheme to defraud Amazon. In total, GEOFFREY MARK

TALSMA, GREGORY MARK GLEESING, LOVEDEEP SINGH DHANOA, and PAUL

STEVEN LARSON defrauded Amazon by renting over 14,000 textbooks, failing to return them

or pay the buyout price, and selling them for a profit. As a result of the scheme to defraud,

Amazon suffered a loss in excess of $1,500,000.00.


       18.     During the relevant time period, GEOFFREY MARK TALSMA, acting alone

and at times with the assistance of GREGORY MARK GLEESING, LOVEDEEP SINGH




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DHANOA, and PAUL STEVEN LARSON, who separately aided and abetted him, caused the

following executions of the scheme to defraud on or about the dates indicated:

 Count   On or About     Mailed from      Mailed to     Carrier           Order details      Textbook      Defendants

 1       7/17/2017     Chester,        1391 Merry-     U.S.       Order ending in -       Using            Talsma;
                       Virginia        brook,          Postal     0591454; customer       Econometrics:    Gleesing
                                       Kalamazoo,      Service                            A Practical
                                       MI                                                 Guide (7th
                                                                                          Edition)

 2       8/17/2017     Kenosha,        5713 Alten      U.S.       Order ending in -       University       Talsma;
                       Wisconsin       St., Portage    Postal     1542648; customer       Physics with     Gleesing
                                       MI              Service                            Modern
                                                                                          Physics (14th
                                                                                          Edition)

 3       9/10/2017     Shakopee,       7040 Balfour    U.S.       Order ending in -       Compensation     Talsma;
                       Minnesota       Dr. Portage,    Postal     4396266; customer       (Irwin           Larson
                                       MI              Service                            Management)
                                                                  email



 4       3/6/2018      Chester,        2206            Federal    Order ending in -       Options,         Talsma;
                       Virginia        Rosewood        Express    1554638; customer       Futures, and     Dhanoa
                                       Ave.,                                              Other
                                       Portage,                   email                   Derivatives
                                       Michigan                                           (10th Edition)


 5       3/6/2018      Middletown,     2206            United                             Chemistry:       Talsma;
                       Delaware        Rosewood        Parcel     4804249; customer       Atoms First      Dhanoa
                                       Ave.,           Service
                                       Portage,                   email
                                       Michigan


 6       5/13/2018     Chattanooga,    7141            U.S.                               Economics        Talsma;
                       Tennessee       Provence Dr.,   Postal     2973847; customer       (Irwin           Dhanoa
                                       Portage,        Service                            Economics)
                                       Michigan


 7       6/13/2018     Tracy,          2206            U.S.                               Business         Talsma;
                       California      Rosewood        Postal     7223400; customer       Statistics: A    Dhanoa
                                       Ave.,           Service                            Decision-
                                       Portage,                                           Making
                                       Michigan                                           Approach
                                                                                          (10th Edition)

 8       6/21/2018     Monee,          2206            U.S.                               Compensation     Talsma
                       Illinois        Rosewood        Postal     5314654; customer       (Irwin
                                       Ave.,           Service                            Management)


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                                 Portage,
                                 Michigan

9      7/9/2018    Middletown,   1509            U.S.                          Physics (5th      Talsma
                   Delaware      Edington St.,   Postal    5349846; customer   Edition)
                                 Portage,        Service
                                 Michigan


10     7/15/2018   Chester,      1509            U.S.                          Campbell          Talsma
                   Virginia      Edington St.,   Postal    8574638; customer   Biology (11th
                                 Portage,        Service                       Edition)
                                 Michigan


11     7/25/2018   Etna, Ohio    1713            U.S.                          Compensation      Talsma
                                 Edington St.,   Postal    5804257; customer   (Irwin
                                 Portage,        Service                       Management)
                                 Michigan


12     7/25/2018   Etna, Ohio    1713            U.S.                          Perloff:          Talsma
                                 Edington St.,   Postal    2788267; customer   Managerial
                                 Portage,        Service                       Economic
                                 Michigan                                      Strategy (2nd
                                                           .com)               Edition)

13     8/10/2018   Etna, Ohio    750 Pleasant    U.S.                          Elementary        Talsma;
                                 Ave., Apt.      Postal    6344257; customer   Surveying: An     Larson
                                 202,            Service                       Introduction to
                                 Kalamazoo,                                    Geomatics
                                 Michigan                  il.com              (15th Edition)

14     9/17/2018   Romulus,      820 S.          U.S.                          Economics         Talsma
                   Michigan      Westnedge       Postal    8036276; customer   (Irwin
                                 Ave.            Service                       Economics)
                                 Kalamazoo,
                                 Michigan

15     9/17/2018   Kenosha,      6650 S          U.S.                          Operations        Talsma;
                   Wisconsin     Westnedge       Postal    6710608; customer   and Supply        Dhanoa
                                 Ave, Portage    Service                       Chain
                                 Michigan                                      Management
                                                           om                  (McGraw-Hill
                                                                               Education)

16     6/11/2019   Kenosha,      6650 S.         United                        Digital           Talsma
                   Wisconsin     Westnedge       Parcel    2393829; customer   Fundamentals
                                 Ave., Suite     Service                       (11th Edition)
                                 146 Portage,              xx-5264
                                 Michigan




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 17     2/28/2021   Monee,     1130 E.        Amazon   Order ending in -   College         Talsma
                    Illinois   Osterhout               5410653; customer   Mathematics
                               Ave, Portage                                for Business,
                               MI                                          Economics,
                                                                           Life Sciences
                                                                           and Social
                                                                           Sciences


18 U.S.C. § 1341
18 U.S.C. § 2(a)




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                                               COUNTS 18-26
                                                (Wire Fraud)

         Paragraphs 1 to 17 above are re-alleged and incorporated as if fully set forth herein as a

scheme to defraud.

         From in or about March 2018, until in or about March 2021, in the Western District of

Michigan, Southern Division,

                                   GEOFFREY MARK TALSMA,
                             a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, having devised and intending to devise a scheme and artifice to defraud Amazon by

means of materially false and fraudulent pretenses, representations and promises, transmitted by

means of wire, radio, and other communication in interstate or foreign commerce certain signals,

communications and writings.

         Specifically, GEOFFREY MARK TALSMA made calls from his cellular telephone to

                                                         ely representing that he did not receive the

textbooks that he ordered but instead received items that he could not return through the mail, or

falsely representing that he did not receive any items at all, in order to cause Amazon to grant

him a concession and to credit his account and close out the subject rental. GEOFFREY

MARK TALSMA executed his scheme to defraud Amazon through concession calls on or

about the dates indicated below:

 Count        Date         Destination          Concession Call Details              Description of Call
          (On or about)
 18      3/9/2018         Amazon         Amazon Contact Number -            Talsma claims he received a box
                          Call Center    A2CEXGBAL7LTQ;                     of alcohol-based sanitary baby
                          outside of                                        wipes and a case of Bic lighters,
                          Michigan       email princedhanoa8@y              instead of textbooks.
 19      6/15/2018        Amazon         Amazon Contact Number -            Talsma identifies himself as
                          Call Center    A2ZQ0HW89VRIBY;                    Prince claiming he received True
                          outside of                                        Fuel 50:1 ratio fuel oil that caused
                          Michigan                                          a fire in his trash receptacle when
                                                                            he disposed of it.
 20      6/22/2018        Amazon         Amazon Contact Number -
                          Call Center    A1D4PZMAO3KYGJ;                                      girlfriend and

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                     outside of                              claims to have received the wrong
                     Michigan              ghts@             items, to include flammables.
 21      7/11/2018   Amazon        Amazon Contact Number -   Talsma identifies himself as
                     Call Center   A1MXR8RWSX25NO;           Geoff and claims to be calling on
                     outside of                              behalf of the account holder, his
                     Michigan                                spouse. Talsma claims to have
                                                             received wrong items, dog
                                                             training pee pads (Silicon
                                                             Product) and bottle of leaking
                                                             Tiki Torch Fuel (Flammable).
 22      7/17/2018   Amazon        Amazon Contact Number -   Talsma identifies himself as Tim
                     Call Center   A235NSOS4CPLYL;           and claims to have received
                     outside of                              leaking Tiki Torch Fuel.
                     Michigan                    @
 23      7/28/2018   Amazon        Amazon Contact Number -   Talsma identifies himself as J.H.
                     Call Center   A1XLM8ZQ44Q0SF;           and claims to have a case of Tiki
                     outside of                              Torch fuel, a flammable item.
                     Michigan           yellowbricks1@
 24      9/20/2018   Amazon        Amazon Contact Number -   Talsma identifies himself as Mike
                     Call Center   ANLS2V2411Y7U;            and claims to have received
                     outside of                              incorrect items.
                     Michigan                     @g
 25      9/22/2018   Amazon        Amazon Contact Number -   Talsma identifies himself as
                     Call Center   A38MONB8RA98RN;           Prince D. and claims to have
                     outside of                              received incorrect items that were
                     Michigan           greatskeet1@         flammables.
 26      3/02/2021   Amazon        Amazon Contact Number -   Talsma identifies himself and
                     Call Center   A1T7IAFJFS4JQP;           requests to close the account
                     outside of                              because the package was empty
                     Michigan                                and the contents were lost in
                                                             outbound shipping.

18 U.S.C. § 1343




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                                             COUNT 27
                                      (Aggravated Identity Theft)

       On or about July 17, 2018, in the Southern Division of the Western District of Michigan,

                                GEOFFERY MARK TALSMA,
                          a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, during and in relation to the felony of wire fraud charged in Count 22 of this

indictment, which is incorporated as if alleged herein, knowingly transferred, possessed, and

used, without lawful authority, the means of identification of T.N.

       Specifically, when calling Amazon to seek a concession through false representations on

an account in the name of T.N., defendant knowingly transferred, possessed, and used, without

lawful authority, the name and address of T.N.

18 U.S.C. § 1028A(a)(1)
18 U.S.C. § 1028A(c)(5)
18 U.S.C. § 1028A(b)




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                                             COUNT 28
                                      (Aggravated Identity Theft)

       On or about July 28, 2018, in the Southern Division of the Western District of Michigan,

                                GEOFFERY MARK TALSMA,
                          a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, during and in relation to the felony of wire fraud charged in Count 23 of this

indictment, which is incorporated as if alleged herein, knowingly transferred, possessed, and

used, without lawful authority, the means of identification of J.H.

       Specifically, when calling Amazon to seek a concession through false representations on

an account in the name of J.H., defendant knowingly transferred, possessed, and used, without

lawful authority, the name and address of J.H.

18 U.S.C. § 1028A(a)(1)
18 U.S.C. § 1028A(c)(5)
18 U.S.C. § 1028A(b)




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                                         COUNT 29
                        (Interstate Transportation of Stolen Property)

       Paragraphs 1 to 17 are re-alleged and incorporated as though fully set forth herein.

       From in or about February 14, 2016, to in or about March 1, 2021, in the Western District

of Michigan,

                               GEOFFREY MARK TALSMA,
                         a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, unlawfully transported, transmitted and transferred, or caused to be transported,

transmitted and transferred, in interstate commerce, from Kalamazoo and Lawrence, Michigan,

to Kentucky, Oregon and additional states other than Michigan, stolen goods, wares and

merchandise, that is, Amazon text                                     book rental program, of the

value of $5,000 or more, knowing the same to have been stolen, converted, and taken by fraud.

18 U.S.C. § 2314




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                                          COUNT 30
                                 (False Statement to the FBI)

       Paragraphs 1 to 17 are re-alleged and incorporated as though fully set forth herein.

       On or about March 5, 2021, in the Southern Division of the Western District of Michigan,

                                GEOFFREY MARK TALSMA,
                          a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, knowingly and willfully made a materially false, fictitious, and fraudulent statement

in a matter within the jurisdiction of the executive branch of the Government of the United States

of America, as follows:

       When a special agent of the Federal Bureau of Investigation asked the Defendant if he

ever called Amazon specifically requesting a refund for receiving the wrong item or an item he



18 U.S.C. § 1001(a)(2)




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                                          COUNT 31
                                 (False Statement to the FBI)

       Paragraphs 1 to 17 are re-alleged and incorporated as though fully set forth herein.

       On or about March 5, 2021, in the Southern Division of the Western District of Michigan,

                                GEOFFREY MARK TALSMA,
                          a/k/a GEOFFREY MARK HAYS TALSMA,

defendant, knowingly and willfully made a materially false, fictitious, and fraudulent statement

in a matter within the jurisdiction of the executive branch of the Government of the United States

of America, as follows:

       When a special agent of the Federal Bureau of Investigation asked the Defendant if he

ever asked anyone to use their names or addresses to accept shipments of textbooks at their



18 U.S.C. § 1001(a)(2)




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                               FORFEITURE ALLEGATION
            (Mail Fraud, Wire Fraud, Interstate Transportation of Stolen Property)

       The allegations contained in Counts 1-17 (mail fraud), Counts 18-26 (wire fraud) and

Count 29 (interstate transportation of stolen property) of this Indictment are hereby re-alleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. §

981(a)(1)(C) and 28 U.S.C. § 2461(c).

       Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), upon conviction of any of

the violations of 18 U.S.C. § 1341 set forth in Counts 1-17 of this Indictment the defendants,

                               GEOFFREY MARK TALSMA,
                         a/k/a GEOFFREY MARK HAYS TALSMA,
                               GREGORY MARK GLEESING,
                               LOVEDEEP SINGH DHANOA,
                                a/k/a PRINCE DHANOA, and
                                  PAUL STEVEN LARSON,

and upon conviction of any of the violations of 18 U.S.C. § 1343 set forth in Counts 18-26, and

any of the violations of 18 U.S.C. § 2314 set forth in Count 29 of this Indictment the defendant,

                               GEOFFREY MARK TALSMA,
                         a/k/a GEOFFREY MARK HAYS TALSMA,

shall forfeit to the United States of America any property, real or personal, which constitutes or is

derived from proceeds traceable to the violation(s). The property to be forfeited includes, but is

not limited to, the following:

       1.       MONEY JUDGMENT: A sum of money equal to at least $3,397,619.09, which

represents the proceeds obtained, directly or indirectly from the offenses charged in Counts 1-17,

Counts 18-26, and Count 29.

       2.       SUBSTITUTE ASSETS: If any of the property described above, as a result of any

act or omission of the defendants:

                a.     cannot be located upon the exercise of due diligence;

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               b.     has been transferred or sold to, or deposited with, a third party;

               c.     has been placed beyond the jurisdiction of the court;

               d.     has been substantially diminished in value; or

               e.     has been commingled with other property which cannot be divided without

                      difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C)
28 U.S.C. § 2461(c)
21 U.S.C. § 853(p)
18 U.S.C. § 1341
18 U.S.C. § 1343
18 U.S.C. § 2314

                                             A TRUE BILL


                                             __________________________________________
                                             GRAND JURY FOREPERSON
ANDREW BYERLY BIRGE
United States Attorney


___________________________________
RONALD M. STELLA
Assistant United States Attorney




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